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               EXHIBIT 11




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                                                                                              February 13, 2022
To: Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Dear Chief Judge Howell,

My name is Jonathan Reyles, a US Army soldier and combat medic. I have known Heather Morgan for
over 8 years and can vouch for her character. She has the integrity and personal courage to take
ownership of her judicial responsibilities so as not to pose a flight-risk.

We met in the San Francisco Bay Area back in 2013. A Computer Science student, who was a mutual
friend, introduced us. Heather and I instantly became friends because of her warmth and intellectual
depth. We constantly spoke at great lengths about philosophy, Sufi poetry, personal development and
how to make the world a better place. We always made time in our busy schedules to hang out, and I
even had the pleasure of getting to meet her parents and the warmth they shared together and the
blessings they had in life. These are priceless moments that mattered to Heather the most and she would
love to keep her unique freedom and rights as a US Citizen.

I always knew Heather had a mission of empowering minority demographics/communities. She loved
learning about other cultures, and studied them deeply – their language, food and customs. As a result,
she had developed a universal empathic awareness of people and their customs. Even as she studied
abroad in different countries, her main reason for moving to San Francisco in 2013, was that San
Francisco’s progressive culture empowered and respected women, a struggle women faced as they were
severely marginalized and deprived of in the Middle East. It took personal courage being a woman in
tech/STEM and to overcome challenges like speech impediment. Heather learned to express her
creative-self without shame or anxiety, with her rap songs and wanted to use this as a vehicle for others
to also take their personal strength and courage to express themselves with no fear, shame or doubt.
The diversity and progressive movement of women empowerment in tech is uniquely led here in the
United States. She always wanted to support and stay true to her friends and was even there for me
when my dad passed away back in October 2015. She is also a strong supporter of the health care
workers during the COVID pandemic and appreciated the US governments’ efforts in keeping our citizens
safe and healthy.

Heather is surrounded by patriotic influence, especially her dad who was a former Marine and Air Force
servicemember. I have witnessed her dad’s influence as an honorable-discharged veteran instilled in the
work-ethic and discipline that Heather ultimately brings. In light of the incident that has happened, she
has an opportunity to fulfill her civil duty to our nation and to go through the judicial process to come to a
righteous conclusion of the investigation.

Her bail is a privilege, not a right, but I know that she will not take her privilege for granted if approved.
She will be motivated and inspired to own up to her civil responsibilities and is therefore not a flight-risk.

Sincerely,




Jonathan E. Reyles
